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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:
                                                      CHAPTER 13
 MILLARD COURTNEY FARMER, JR.
                                                      CASE NO. 18-52363-jwc
       Debtor.

      NOTICE OF HEARING ON FIRST INTERIM APPLICATION FOR CHAPTER 13
     COMPENSATION OF THE ATTORNEYS-AT-LAW REPRESENTING THE DEBTOR

       PLEASE TAKE NOTICE that a “FIRST INTERIM APPLICATION FOR CHAPTER 13
COMPENSATION OF THE ATTORNEYS-AT-LAW REPRESENTING THE DEBTOR” (the
“Application”) has been filed in the above case. Pursuant to the Application, the Court is
requested to allow and award compensation to Jones & Walden, LLC, as follows:

       (1)     $47,410.00 representing fees; and
       (2)     $1,191.45 representing actual out-of-pocket expenses incurred on behalf of the
               Debtor.
       (3)     That the Debtor be authorized to pay the Law Firm $33,601.45 which represents
               the requested award after credit for a pre-petition payment in the amount of
               $15,000.00. The Law Firm requests that the Debtor or Debtor’s relatives be
               authorized to pay such amount direct to the Law Firm outside the Plan.

PLEASE TAKE FURTHER NOTICE that the Court shall hold a hearing on the Application on the
4th day of December, 2018, at 10:00 o’clock a.m., in Courtroom 1203, U. S. Courthouse, 75
Ted Turner Drive SW, Atlanta, Georgia 30303.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is Clerk,
U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Atlanta, Georgia 30303. You must also mail a
copy of your response to the undersigned at the address stated below.

       This 12th day of November, 2018.
                                                     JONES & WALDEN, LLC
                                                     /s/ Leon S. Jones
                                                     By: Leon S. Jones
                                                     Georgia Bar No. 003980
                                                     Attorneys for Debtor
                                                     21 Eighth Street, NE
                                                     Atlanta, Georgia 30309
                                                     404-564-9300
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:
                                                      CHAPTER 13
 MILLARD COURTNEY FARMER, JR.
                                                      CASE NO. 18-52363-jwc
        Debtor.

           FIRST INTERIM APPLICATION FOR CHAPTER 13 COMPENSATION OF
                THE ATTORNEYS-AT-LAW REPRESENTING THE DEBTOR

TO:     THE HONORABLE JEFFERY W. CAVENDER
        JUDGE, U.S. BANKRUPTCY COURT
        NORTHERN DISTRICT OF GEORGIA
        ATLANTA DIVISION

        COMES NOW Jones & Walden, LLC (the “Law Firm”), the attorneys for the Debtor, and

files its “FIRST INTERIM APPLICATION FOR CHAPTER 13 COMPENSATION OF THE

ATTORNEYS-AT-LAW REPRESENTING THE DEBTOR” (the “Application”), and in support

thereof respectfully shows as follows:

                                                 1.

        The Law Firm shows that it has represented Millard Farmer (“Debtor”) since February

2018.

                                                 2.

        The Law Firm makes its Application for the allowance of compensation for professional

services rendered to the Debtor for the period of time from February 1, 2018, through October 31,

2018 (“Application Period”), pursuant to 11 U.S.C. §§ 330 and 331. All services for which

compensation is requested were performed on behalf of the Debtor and not on behalf of any other

party, creditor, persons or party in interest.

                                                 3.

        The Law Firm has had numerous conferences with the Debtor, creditors of the Debtor,

and with attorneys for various creditors herein with reference to this case, and has filed numerous
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pleadings and attended numerous hearings and has performed many other services necessary

and proper to the administration of this estate.

                                                   4.

         The time expended by the Law Firm and the work performed by the Law Firm, for the

period for which this Application is made, is duly itemized and set forth in Exhibit “A” which is

attached hereto and incorporated herein by this reference.

                                                   5.

         The out-of-pocket expenses incurred by the Law Firm during the period for which this

Application is made are duly itemized and set forth in Exhibit “A” which is attached hereto and

incorporated by this reference. The copy costs reflected on Exhibit “A” are charged at the rate of

$0.10 per page. The facsimile costs are charged at the rate of $1.00 per outgoing page. Out-of-

pocket expenses represent the actual cost to the Law Firm.

                                                   6.

         No agreement or understanding exists between the Law Firm and any other person for

the sharing of compensation received or to be received for services rendered in connection with

this case.

                                                   7.

         The agreement for fees between the Law Firm and Debtor provided for fees on an hourly

basis.

                                                   8.

         The Law Firm shows that it has expended a total of 167.70 hours in law firm time for the

Application Period, representing hourly fees in the total amount of $47,410.00. The Law Firm

shows that it has incurred a total of $1,191.45 in out-of-pocket expenses and advances in the

course of such representation and has thereby earned a total of $48,601.45 pursuant to the

above-referenced and heretofore disclosed compensation agreement. By this Application, the

Law Firm seeks allowance of fees and expenses in the amount of $48,601.45 and an award of
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payment in the amount of $33,601.45, which represents the requested award after credit for a

pre-petition payment in the amount of $15,000.00.

                                                  9.

       The Law Firm seeks permission for the Chapter 13 Debtor (or relatives of the Debtor) to

pay the amounts requested pursuant to this Application ($33,601.45) directly to the Law Firm

outside the Plan on an interim basis. The Law Firm shows that Debtor’s children may participate

in payment of any award made pursuant to this Application.

                                                 10.

       The Law Firm respectfully makes the following representations with regard to the 12-factor

Johnson test:

       (a)      Time and Labor Required:        The Law Firm has expended a total of 167.70 law

                firm hours through October 31, 2018, at the following rates:

                Attorney(s)                                  Hourly Rate
                Leon S. Jones                                $350.00
                Cameron McCord                               $325.00
                Leslie Pineyro                               $325.00
                Matthew Tokajer                              $250.00
                J. Kelley Killorin                           $225.00
                Lauren Brown (Paralegal)                     $100.00
                Ellen Wooden (Paralegal)                     $100.00

       (b)      Novelty and Difficulty of Questions Presented:       The        Chapter        13

                reorganization case involves the effort to reorganize a business debtor. The Law

                Firm shows that the novelty and difficulty of questions presented are greater than

                those normally associated with a Chapter 13 bankruptcy case.

       (c)      Skill Requisite to Perform Legal Services Properly: The Law Firm respectfully

                represents that it has the skill requisite to perform legal services heretofore

                rendered in a proper fashion.

       (d)      The Preclusion of Other Employment Due to Acceptance of the Case: The Law

                Firm respectfully requests that the time expended by the Law Firm in connection
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            with this case could have been devoted to matters being handled for other clients,

            but for the time demands placed upon the Law Firm by the Law Firm’s involvement

            in this case.

      (e)   Customary Fee for the Type of Services Rendered: The Law Firm shows that all

            fees requested by the Law Firm were generated by applying the Law Firm’s normal

            hourly billing rate to the number of hours actually expended. Such itemization is

            detailed on Exhibit “A”. The Law Firm respectfully represents that the customary

            compensation for the attorney services in connection with a bankruptcy case is

            upon an hourly billing basis.

      (f)   Whether Fee is Fixed or Contingent: The Law Firm’s charges are subject to being

            awarded by this Court under 11 U.S.C. § 330. The Fee is thus not truly fixed or

            contingent but has some characteristics of both.

      (g)   Time Limitations Imposed by Client or Other Circumstances:          The Law Firm

            shows that many of the services rendered have been performed under exacting

            time limitations imposed by the nature of the case.

      (h)   Amount Involved and Results Obtained:           The Law Firm has handled a large

            number of routine and complex Chapter 13 issues on behalf of the Debtor. The

            Law Firm has handled matters regarding the Debtor’ unsecured and secured

            creditors. The Law Firm has represented the Debtor throughout this bankruptcy

            case.

      (i)   Experience, Reputation, and Ability of Attorneys:      The Law Firm respectfully

            represents that it has had a significant amount of experience within the areas

            involved in this representation.

      (j)   Undesirability of the Case: The Law Firm respectfully represents that this factor is

            not normally applicable to a Chapter 13 case.
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      (k)   Nature and Length of Professional Relationship with the Client:    The Law Firm

            shows that it has represented the Debtor since February 2018.

      (l)   Awards in Similar Cases: The Law Firm respectfully represents that its Application

            is in keeping with similar applications for Chapter 13 compensation filed by

            attorneys representing business debtors in bankruptcy cases within this district,

            but that this is a particularly difficult case.

      WHEREFORE, the Law Firm prays that it be allowed Chapter 13 compensation as follows:

      (1)   $47,410.00 representing fees; and

      (2)   $1,191.45 representing actual out-of-pocket expenses incurred on behalf of the

            Debtor.

      (3)   That the Debtor be authorized to pay the Law Firm $33,601.45 which represents

            the requested award after credit for a pre-petition payment in the amount of

            $15,000.00. The Law Firm requests that the Debtor (or relatives of Debtor) be

            authorized to pay such amount direct to the Law Firm outside the Plan on an

            interim basis.

      RESPECTFULLY SUBMITTED this 12th day of November, 2018.


                                                      JONES & WALDEN, LLC
                                                      /s/ Leon S. Jones
                                                      By: Leon S. Jones
                                                      Georgia Bar No. 003980
                                                      Attorney for Debtor
                                                      21 Eighth Street, NE
                                                      Atlanta, Georgia 30309
                                                      (404) 564-9300
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                              EXHIBIT “A” FOLLOWS
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                                                        404-564-9300




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       Millard Farmer                                                                                November 12, 2018
       1196 DeKalb Avenue                                                                    Account No:    2493-00M
       Atlanta GA 30307                                                                    Statement No:        51010




       Re: Chapter 13 (CM)


                                                                Fees

                                                                                   Rate         Hours
02/01/2018
        CMM      Conf with client re RICO                                         325.00          1.00         325.00

02/06/2018
        CMM      Prepare for and attend conference with Millard Farmer; conf
                 with LSJ and LP (.6)                                             325.00          4.10        1,332.50
       LMP       Conference with M Farmer (re chapter 13 with RICO
                 judgment) (1.4)                                                  325.00          1.40         455.00
       LSJ       Conference with CM re strategy (.1); conf with CM (.1); conf
                 with CM re 13 plan (.5)                                          350.00          0.70         245.00

02/07/2018
        CMM      Telephone Conference with client (.3) t/c client re strategy
                 (.2)                                                             325.00          0.50         162.50

02/08/2018
        EW       Revise Funding Commitment and Engagement Letter;
                 multiple revisions to same                                       100.00          0.50           50.00
       CMM       Conference with client re status of litigation; mult conf with
                 client                                                           325.00          2.80         910.00
       LSJ       Prepare engagement; prepare plan and disclosure (.8);
                 review DC litigation (.2)                                        350.00          1.00         350.00

02/09/2018
        LMP      Review federal rules and conf re options (.2) review options
                 (.1) Prepare filing analysis (.1)                                325.00          0.40         130.00
       LB        Set up client for credit counseling ; prepare POS in district
                 court action                                                     100.00          0.60           60.00
       CMM       Multiple telephone conferences with client and Buddy Parker
                 re settlement and bankruptcy; conf LSJ re same                   325.00          1.00         325.00
       LSJ       Conference with CM re 13 strategy and plan (.4); prepare
                 schedules (.1); conf with client re strategy (.1)                350.00          0.60         210.00

02/12/2018
        CMM      Email exchange with Buddy Parker (.1) corr to client re
                 schedules (.2)                                                   325.00          0.30          97.50
       MJT       Review documents needed to file remaning schedules.              250.00          0.60         150.00
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       Re: Chapter 13 (CM)


                                                                                     Rate         Hours
02/13/2018
        LB        Prepare COA for Maloy Jenkins Parker & debtor; file same          100.00          0.40           40.00
        CMM       Telephone Conference with client; email to client re 341 (.2)
                  prepare attorney disclosure statement (.2)                        325.00          0.40         130.00
       LSJ        Review first day filings and commencement notice; calendar
                  deadlines                                                         350.00          0.20           70.00

02/14/2018
        LB        Finalize App to employ special counsel; file & serve same;
                  upload order                                                      100.00          0.40           40.00
       CMM        Edit app to employ; conf LSJ re same (.6) t/c Ralph
                  Goldberg (.1)                                                     325.00          0.70         227.50
       LSJ        Review and revise application, declaration and order for
                  employment prepared by proposed special counsel (.6); conf
                  with CM re same; review for filing (.2)                           350.00          0.80         280.00

02/15/2018
        LB        Revise Order on App to Employ Special Counsel; email to
                  CMM re: same                                                      100.00          0.50           50.00
       EW         Finalize, file, and serve Notice of Filing re App to Employ
                  Special Counsel                                                   100.00          0.20           20.00
       MJT        Revise special counsel order and send to TT for consent
                  (0.4), draft and file notice of filing of executed fee contract
                  (0.4), contact special counsel regarding notice of filing of
                  executed fee contract (0.2)                                       250.00          1.00         250.00

02/16/2018
        LSJ       Review employment app re special counsel; review
                  commencement notice; calendar deadlines and events;
                  review special counsel employment agreement                       350.00          0.10           35.00

02/18/2018
        LSJ       Review docket and status of sumission and order on special
                  counsel application for employment                                350.00          0.10           35.00

02/20/2018
        CMM       Telephone Conference with client re schedules                     325.00          0.20           65.00

02/22/2018
        CMM       Telephone Conference with client re status of schedule
                  information                                                       325.00          0.70         227.50
       MJT        Review general order regarding attorney fee disclosure (0.2),
                  draft application to extend time to file schedules (.6)           250.00          0.80         200.00
       LSJ        Prepare schedules and disclosure                                  350.00          0.20          70.00

02/23/2018
        LB        Review Troup Co. court records; conf. with CMM re: same;
                  revise Attny Disclosure Statement; file same                      100.00          0.60           60.00
       MJT        Email trustee to get permission to sign order on application
                  to employ special counsel (0.1), draft order to extend time to
                  file schedules (0.2).                                             250.00          0.30          75.00
       LSJ        Prepare attorney disclosure statement and schedules               350.00          0.40         140.00

02/24/2018
        LSJ       Review extension motion and filed atty disclosure; calendar
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       Re: Chapter 13 (CM)


                                                                                     Rate        Hours
                  deadlines                                                        350.00         0.10            35.00

02/28/2018
        CMM       Telephone Conference with client; review motion for new
                  trial; t/c MT re status (1) t/c Ralph Goldberg re litigation
                  strategy (.2)                                                    325.00          1.20         390.00
       MJT        Telephone Conference with trustee to discuss consent order
                  for application to employ special counsel.                       250.00          0.40         100.00

03/01/2018
        CMM       Review district court pleadings (.5); t/c client re schedules;
                  email to client re schedules; (.3) conf MT re Chp 13 plan
                  terms (.2)                                                       325.00          1.00         325.00
       MJT        Legal research on treatment of disputed unliquidated debts
                  and confirmation requirements.                                   250.00          2.70         675.00

03/03/2018
        CMM       Telephone Conference with client                                 325.00          0.30           97.50
        LSJ       Review docket and entered extension order; prepare plan          350.00          0.10           35.00

03/05/2018
        CMM       Receipt and review of documents (.4) conf with client (3.0)      325.00          3.40        1,105.00
        MJT       Prepare plan.                                                    250.00          0.60          150.00
        LSJ       Prepare schedules (.1); prepare plan (.1)                        350.00          0.20           70.00

03/06/2018
        CMM       Review plan (.3)                                                 325.00          0.30           97.50
        MJT       Prepare plan and means test (0.9), discuss plan with CMM
                  (0.2), edit plan (0.4), meeting with CMM and Millard (1.0)       250.00          2.50         625.00
       LSJ        Prepare plan                                                     350.00          0.20          70.00

03/07/2018
        CMM       Telephone Conference with Farmer (.3) conf MT re
                  amendment (.1) revise plan (.2) revise schedules (.1) conf
                  with client (2.4)                                                325.00          3.10        1,007.50
       MJT        Legal research on standard on Rico claims (1.3), edit
                  schedules (0.3), meet with CMM and client (1.2), read
                  settlement agreement for details on indemnification (0.4).       250.00          3.20         800.00
       LSJ        Prepare plan                                                     350.00          0.10          35.00

03/08/2018
        EW        Finalize, file and serve Chapter 13 Plan (0.4); finalize
                  schedule completion and file (0.5)                               100.00          0.90           90.00
       MJT        Review schedules and plan (0.3), file schedules and plan
                  (0.3)                                                            250.00          0.60         150.00

03/09/2018
        LB        Prepare schedules                                                100.00          0.20           20.00
        MJT       Review order staying rico case.                                  250.00          0.10           25.00

03/12/2018
        LSJ       Review plan and schedules                                        350.00          0.10           35.00

03/19/2018
        CMM       Review filed pleadings (.1) r/r order staying district court
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       Re: Chapter 13 (CM)


                                                                                     Rate        Hours
                  case (.1)                                                        325.00         0.20            65.00

03/20/2018
        MJT       Telephone Conference with client regarding plan                  250.00          0.30           75.00

03/22/2018
        CMM       Review client research on Rico case                              325.00          0.20           65.00

03/23/2018
        LSJ       Review trustee notice re-setting 341 and confirmation
                  hearing and requiring business forms; calendar events            350.00          0.10           35.00

03/26/2018
        CMM       Email exchange re creditor meeting (.1) t/c Ralph Goldberg
                  (.1) t/c trustee (.2) prepare order (.1) t/c client (.2)         325.00          0.70         227.50

03/29/2018
        CMM       Review order (.1) t/c client (.3) review transcript (.3)         325.00          0.70         227.50

03/30/2018
        LB        Finalize & upload order granting Goldberg employment             100.00          0.20           20.00

04/02/2018
        CMM       Telephone Conference with client re trial transcript             325.00          0.30           97.50

04/04/2018
        LSJ       Review entered order for employment of special counsel           350.00          0.10           35.00

04/06/2018
        MJT       Prepare 341 business packet.                                     250.00          2.70         675.00

04/10/2018
        MJT       Prepare and edit 341 business packet.                            250.00          1.30         325.00

04/11/2018
        MJT       Finalize business 341 packet (0.4), send packet to TT (0.3)      250.00          0.70         175.00

04/12/2018
        CMM       Telephone Conference with Farmer                                 325.00          0.30           97.50

04/17/2018
        CMM       Attend meeting with Ralph Goldberg                               325.00          2.40         780.00
        MJT       Attend meeting at Ralph Goldbergs office (1.3), travel to and
                  from meeting (1.1)                                               250.00          2.40         600.00

04/18/2018
        CMM       Receipt and review of notice of appearence                       325.00          0.10           32.50

04/20/2018
        CMM       Receipt and review of POC; corr to client re same                325.00          0.20           65.00

04/23/2018
        LSJ       Review Murphy POC                                                350.00          0.10           35.00
        CMM       Telephone Conference with Mitt re claims                         325.00          0.10           32.50
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                                                                                    Rate         Hours
05/07/2018
        CMM       t/c Colin Bernadino                                              325.00          0.20           65.00

05/08/2018
        CMM       Telephone Conference with client                                 325.00          0.80         260.00

05/10/2018
        CMM       Telephone Conference with client (.2) review client docs (.4)
                  t/c Jo Farmer (.2)                                               325.00          0.80         260.00
       LSJ        Prepare fee app/notice                                           350.00          0.20          70.00

05/11/2018
        CMM       Attend 341                                                       325.00          2.90         942.50

05/14/2018
        LSJ       Conference with CM re strategy                                   350.00          0.20           70.00
        LMP       Review case options (.1)                                         325.00          0.10           32.50
        CMM       Conference with LP re conversion (.2) r/r MRAS; corr to
                  client re same (.3)                                              325.00          0.50         162.50

05/15/2018
        LSJ       Conference with CM re strategy                                   350.00          0.10          35.00
        CMM       Telephone Conference with Millard; t/c with Ralph                325.00          0.50         162.50

05/16/2018
        LSJ       Review Murphy's MRAS                                             350.00          0.10          35.00
        CMM       Conference with client (1.6)                                     325.00          1.60         520.00

05/17/2018
        MJT       Prepare objection to proof of claim (1.0), call with Jo Farmer
                  regarding payment method (0.1), discuss 341 objections
                  with CMM (0.1)                                                   250.00          1.20         300.00

05/21/2018
        LSJ       Conference with CM and prep order on stay relief and
                  confirmation                                                     350.00          0.40         140.00
       CMM        Receipt and review of objection to Chapter 13 plan (.3)
                  prepare order on MRAS; conf LSJ re same (1) t/c client re
                  order (.2)                                                       325.00          1.50         487.50
       MJT        Update schedules based on trustee's objections (0.7), call
                  with Jo Farmer (0.1), call with Millard Farmer (0.2).            250.00          1.00         250.00

05/25/2018
        LSJ       Conference with CM re trustee change of position on holding
                  confirmation in abeyance and strategy on amending plan           350.00          0.20           70.00

05/29/2018
        CMM       Conf MT re objections                                            325.00          0.30           97.50
        LMP       Prepare objection response and strategy (.3)                     325.00          0.30           97.50
        MJT       Conference with LP and CMM to discuss case (0.2), review
                  objections to confirmation and draft amendments (1.1), legal
                  research on good faith factors (0.3), review general orders
                  regarding chapter 13 plan (0.2), call with client (1.6),         250.00          3.30         825.00
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       Millard Farmer                            Document      Page 13 of 19                           November 12, 2018
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       Re: Chapter 13 (CM)


                                                                                     Rate         Hours
05/30/2018
        CMM       Review response to trustee objection                              325.00          0.50         162.50
        MJT       Review Murphy's objection to confirmation (0.5), legal
                  research to resond to Murphy's objection (1.3), draft
                  response to Murphy's objection (1.9), edit response (0.3),
                  discuss amendments with CMM (0.1), draft amended
                  chapter 13 plan (1.0), amend schedule C (0.4), draft credit
                  card affidavit (0.1), draft objection to Murphys proof of claim
                  (0.5).                                                            250.00          6.10        1,525.00

05/31/2018
        CMM       Telephone Conference with client; review and revise
                  responses to objections and objection to proof of claim           325.00          1.20         390.00
       MJT        Revise amended schedules, plan and responses (1.1), email
                  proposed changes to client (0.2).                                 250.00          1.30         325.00

06/01/2018
        CMM       Conference with client re Chp 13                                  325.00          1.20         390.00
        MJT       Prepare for meeting with client (0.5), meeting with client
                  (1.9), file amendments (1.0).                                     250.00          3.40         850.00

06/04/2018
        LB        Finalize amendment to schedules; responses to objections
                  to confirmation (Ch. 13 Trustee & Murphy); obj. to Murphy
                  POC (.9); prepare cert. of service of amended plan (.5); file
                  & serve all (.3)                                                  100.00          1.70         170.00
       CMM        Prepare for hearing                                               325.00          0.60         195.00
       MJT        Telephone Conference with trustee to discuss confirmation
                  hearing (0.1)                                                     250.00          0.10           25.00
       MJT        Prepare for hearing (0.1), research on good faith in regards
                  to chapter 13 liquidation plans (1.1).                            250.00          1.20         300.00

06/05/2018
        CMM       Prepare for and attend confirmation hearing                       325.00          8.70        2,827.50
        LMP       Prepare for conf hearing (.4)                                     325.00          0.40          130.00
        MJT       Prepare for confirmation hearing. Attend confirmation
                  hearing.                                                          250.00          4.50        1,125.00

06/07/2018
        LMP       Prepare case strategy (.1)                                        325.00          0.10           32.50

06/08/2018
        CMM       Email exchange re order and objection to claim (.2) t/c CB
                  (.1)                                                              325.00          0.30           97.50

06/10/2018
        LSJ       Review claim objection; calendar hearing; review response
                  brief re plan objection                                           350.00          0.10           35.00

06/11/2018
        CMM       Telephone Conference with Collin Bernadino re settlement          325.00          0.40         130.00

06/13/2018
        CMM       Email exchange re MRAS (.1) t/c Ralph Goldberg (.2)               325.00          0.30          97.50
        MJT       Attend SEC Townhall meeting with Millard Farmer.                  250.00          3.50         875.00
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       Millard Farmer                            Document      Page 14 of 19                          November 12, 2018
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       Re: Chapter 13 (CM)


                                                                                    Rate         Hours

06/14/2018
        LSJ       Receipt and review of notice of evidentiary hearing; calendar
                  same; conf with CM re same                                       350.00          0.20           70.00

06/15/2018
        CMM       Mult t/c with client and Colin Bernadino re status; review
                  order (1.1)                                                      325.00          1.10         357.50

06/18/2018
        LSJ       Email and conference with CM re mediation and strategy;
                  review docket                                                    350.00          0.20          70.00
       CMM        Prepare motion for mediation (.8)                                325.00          0.80         260.00

06/19/2018
        LSJ       Prepare motion and order for mediation; conference with CM
                  re same                                                          350.00          0.30         105.00
       MJT        Telephone Conference with Millard Farmer re status and
                  strategy                                                         250.00          1.40         350.00

06/20/2018
        LSJ       Prepare and file mediation motion; telephone call to
                  chambers re appointment of mediator                              350.00          0.20           70.00
       EW         Revise Joint Motion Requesting Mediation (0.2); finalize, file
                  and serve same (0.3)                                             100.00          0.50           50.00

06/22/2018
        LSJ       Telephone conference with client re status and strategy          350.00          0.70         245.00

06/27/2018
        MJT       Telephone Conference with court regarding availability for
                  mediation.                                                       250.00          0.10           25.00

07/02/2018
        MJT       Telephone Conference with client to discuss upcoming
                  hearing and GSU Investor advocay hearing.                        250.00          1.20         300.00

07/05/2018
        CMM       Email exchange re consent order on MRAS                          325.00          0.20          65.00
        LSJ       Conference with CM re status and strategy                        350.00          0.30         105.00

07/06/2018
        CMM       Mult Telephone Conference with client (1)                        325.00          1.00         325.00

07/09/2018
        CMM       Email exchange re status                                         325.00          0.20           65.00

07/10/2018
        CMM       Receipt and review of objection to claim (.2) email exchange
                  re hearing and mediation (.2)                                    325.00          0.40         130.00
       LSJ        Review Murphy response to POC objection                          350.00          0.10          35.00

07/12/2018
        CMM       Telephone Conference with client re status                       325.00          0.40         130.00
        MJT       Telephone Conference with Millard discussing contacting
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       Millard Farmer                             Document      Page 15 of 19                         November 12, 2018
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       Re: Chapter 13 (CM)


                                                                                    Rate         Hours
                  Jaren Doss (works with GSU Investor advocacy group)
                  about possible SEC investigation.                                250.00          0.20           50.00

07/13/2018
        LSJ       Review entered mediation order; conf with CM re same             350.00          0.10           35.00

07/16/2018
        CMM       Telephone Conference with client re status                       325.00          0.60         195.00

07/18/2018
        CMM       r/r of mediation order; t/c client re same                       325.00          0.30           97.50

07/19/2018
        CMM       Telephone Conference with client; t/c with Jason Doss;
                  email exchange re mediation                                      325.00          1.30         422.50

07/24/2018
        CMM       Email exchange re mediation                                      325.00          0.20           65.00

07/30/2018
        CMM       Email exchange re mediation                                      325.00          0.10           32.50
        LSJ       Prepare fee application                                          350.00          0.20           70.00

08/06/2018
        MJT       Prepare mediation statement.                                     250.00          3.20         800.00

08/07/2018
        MJT       Telephone Conference with client.                                250.00          0.30           75.00

08/21/2018
        CMM       Prepare mediation statement (.2)                                 325.00          0.20           65.00

08/23/2018
        CMM       Telephone Conference with client re mediation (.6) review
                  transcript (1.8)                                                 325.00          2.40         780.00

08/28/2018
        CMM       Telephone Conference with client                                 325.00          0.10           32.50
        MJT       Review brief for new trial in order to supplement mediation
                  statement (1.2), edit mediation statement (0.7)                  250.00          1.90         475.00

08/29/2018
        MJT       edit mediation statement.                                        250.00          1.10         275.00

08/30/2018
        CMM       Finalize mediation statement                                     325.00          0.50         162.50

08/31/2018
        CMM       Telephone Conference with client                                 325.00          1.30         422.50

09/04/2018
        CMM       Review mediation statement                                       325.00          0.40         130.00

09/05/2018
        CMM       Prepare mediation statement; corr to client re same; t/c Jo re
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       Millard Farmer                            Document      Page 16 of 19                         November 12, 2018
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                                                                                    Rate        Hours
                  same                                                            325.00         2.30          747.50

09/07/2018
        CMM       Telephone Conference with client                                325.00          0.20           65.00
        JKK       Review judgment documents (.4); Legal research regarding
                  attorneys fees (4.7)                                            225.00          5.10        1,147.50

09/10/2018
        JKK       Legal research regarding attorneys fees and RICO                225.00          1.40         315.00

09/11/2018
        CMM       Correspondence to Colin Bernardino (.1)                         325.00          0.10          32.50
        CMM       Conference with Judge Bonapfel (2.2)                            325.00          2.20         715.00
        JKK       Prepare memo discussing legal research regarding
                  attorneys fees (.4) Legal research regarding attorneys fees
                  (4.3)                                                           225.00          4.70        1,057.50
       MJT        Attend Mediation session with Millard, Cameron and J.
                  Bonapfel.                                                       250.00          2.00         500.00

09/12/2018
        CMM       Telephone Conference with client re BPO                         325.00          0.20           65.00

09/14/2018
        CMM       Telephone Conference with Ralph Goldberg (.1) email to CB
                  (.1)                                                            325.00          0.20           65.00

09/17/2018
        CMM       Receipt and review of BPO (.2) t/c client (.5)                  325.00          0.70         227.50

09/18/2018
        CMM       Attend mediation                                                325.00          8.50        2,762.50
        MJT       Prepare liquidation analysis including BPO for real estate.     250.00          0.70          175.00

09/19/2018
        LSJ       Review settlement terms; conf with CM; prepare settlement
                  agreement                                                       350.00          0.40         140.00
       CMM        Conf with MT re settlement                                      325.00          0.30          97.50
       MJT        Conference with Cameron to discuss settlement.                  250.00          0.20          50.00

09/21/2018
        CMM       Telephone Conference with Julie Aninia                          325.00          0.20           65.00

09/25/2018
        MJT       Prepare motion to approve compromise (1.3), draft
                  amended plan (1.2)                                              250.00          2.50         625.00

09/28/2018
        MJT       Review and edit chapter 13 plan (0.5), review and edit
                  settlement motion (0.5)                                         250.00          1.00         250.00

10/01/2018
        MJT       Review and edit chapter 13 plan (0.5), review and edit
                  motion approving settlement (0.5)                               250.00          1.00         250.00
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        Millard Farmer                          Document      Page 17 of 19                         November 12, 2018
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        Re: Chapter 13 (CM)


                                                                                  Rate         Hours
10/04/2018
        CMM       Review plan and 9019 motion; email to Colin Bernadino re
                  same                                                           325.00          0.40          130.00
                  For Current Services Rendered                                                167.70       47,410.00

                                                        Recapitulation
    Timekeeper                                                           Hours         Rate                 Total
    Leon S. Jones                                                         9.20      $350.00             $3,220.00
    Cameron Martin McCord                                                75.30       325.00             24,472.50
    Leslie Pineyro                                                        2.70       325.00                877.50
    Ellen Wooden                                                          2.10       100.00                210.00
    Lauren Brown                                                          4.60       100.00                460.00
    J. Kelley Killorin                                                   11.20       225.00              2,520.00
    Matthew J. Tokajer                                                   62.60       250.00             15,650.00


                                                          Expenses

02/09/2018        Filing fee - Chapter 13 Bankruptcy                                                           310.00
02/14/2018        Postage (5 @ .68)                                                                              3.40
02/15/2018        Postage                                                                                        0.47
02/23/2018        Postage (2 @ .47)                                                                              0.94
03/01/2018        Online legal research                                                                          6.00
03/01/2018        Fee for Online Court Documents (PACER)                                                         8.40
03/08/2018        Filing fee - Schedules and amended creditor matrix                                            31.00
03/08/2018        Postage (4 @ .47)                                                                              1.88
04/01/2018        Online legal research                                                                        381.00
05/01/2018        Fee for Online Court Documents (PACER)                                                         1.30
05/09/2018        Postage (2 @ .47)                                                                              0.94
05/11/2018        Parking                                                                                       14.00
06/01/2018        Online legal research                                                                        183.38
06/04/2018        Filing fee - Amended Schedules E/F, G                                                         31.00
06/04/2018        Postage (4 @ .47) (4 @ .68) (4 @ 1.63)                                                        11.12
06/05/2018        Postage (4 @ .47)                                                                              1.88
06/20/2018        Postage (4 @ .47)                                                                              1.88
07/01/2018        Online legal research                                                                         76.88
07/01/2018        Fee for Online Court Documents (PACER)                                                         1.10
09/01/2018        Online legal research                                                                         36.00
10/01/2018        Online legal research                                                                         88.88
                  Total Expenses                                                                              1,191.45

                  Total Current Work                                                                        48,601.45

                                                          Payments

02/08/2018        Payment (Millard C. Farmer)                                                                -4,000.00
02/08/2018        Payment (Eleanor Farmer Meeker)                                                            -4,000.00
02/12/2018        Cash Payment                                                                               -7,000.00
                  Total Payments                                                                            -15,000.00

                  Balance Due                                                                              $33,601.45
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:
                                                       CHAPTER 13
 MILLARD COURTNEY FARMER, JR.
                                                       CASE NO. 18-52363-jwc
       Debtor.

                                   CERTIFICATE OF SERVICE

       I hereby certify that I have caused to be served a copy of the foregoing Notice of Hearing
and the foregoing Application on the parties reflected below. I further certify that I have caused to
be served a copy of the foregoing Notice of Hearing only on all parties referenced on the attached
mailing matrix by depositing a copy of same in the United States Mail, postage prepaid.

 Office of the United States Trustee               Millard Courtney Farmer, Jr.
 362 Richard B. Russell Federal Building           1196 Dekalb Ave
 75 Ted Turner Drive S.W.                          Atlanta, GA 30307
 Atlanta, Georgia 30303

 Nancy J. Whaley, Standing Ch. 13 Trustee
 303 Peachtree Center Avenue
 Suite 120, SunTrust Garden Plaza
 Atlanta, GA 30303

This 12th day of November, 2018.


                                                      JONES & WALDEN, LLC

                                                      /s/ Leon S. Jones
                                                      By: Leon S. Jones
                                                      Georgia Bar No. 003980
                                                      Attorneys for Debtor
                                                      21 Eighth Street, NE
                                                      Atlanta, Georgia 30309
                                                      (404) 564-9300
Label Matrix forCase     18-52363-jwc
                  local noticing        Doc 50
                                             Julie Filed  11/12/18 Entered 11/12/18 16:54:49
                                                   M. Anania                         Colin Michael Desc    Main
                                                                                                   Bernardino
113E-1                                           Document
                                             Nancy J. Whaley     Page 19 of 19       Kilpatrick Townsend & Stockton LLP
Case 18-52363-jwc                             Standing Chapter 13 Trustee                 1100 Peachtree Street, NE
Northern District of Georgia                  Suite 120                                   Suite 2800
Atlanta                                       303 Peachtree Center Avenue                 Atlanta, GA 30309-4530
Mon Nov 12 16:01:24 EST 2018                  Atlanta, GA 30303-1286
City of Atlanta                               Dekalb County Tax Commissioner
Office of Revenue                             4380 Memorial Drive, Suite 100
55 Trinity Ave, Suite 1350                    Decatur, GA 30032-1239
Atlanta, GA 30303-3534


Ralph Goldberg                                John H. Murphy
1400 Montreal Road                            c/o Maloy Jenkins Parker
Suite 100                                     1360 Peachtree Street NE
Tucker, GA 30084-6919                         Suite 910
                                              Atlanta, GA 30309-3287




                                              Nan Freeman                                 Wilmer Parker
                                              c/o Ken Gordon                              Suite 910
                                              PO Box 1088                                 1360 Peachtree Street
                                              Lagrange, GA 30241-0020                     Atlanta, GA 30309-3287


Resurgent Capital Services
P.O. Box 10587
Greenville, SC 29603-0587
